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 4
                            UNITED STATES DISTRICT COURT
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                          NORTHERN DISTRICT OF CALIFORNIA
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 7
     UNITED STATES OF AMERICA,              )
 8                                          )
                     Plaintiff,             )       No. CR 05-00651 CW (BZ)
 9                                          )
             v.                             )       ORDER SCHEDULING SETTLEMENT
10                                          )       CONFERENCE
     MICHAEL DOWNEY,                        )
11                                          )
                     Defendant.             )
12                                          )
13           This matter has been referred for me to conduct a
14   settlement conference.
15           IT IS HEREBY ORDERED that a settlement conference is
16   scheduled for Tuesday, April 4, 2006 at 9:00 a.m. in Courtroom
17   G, 15th Floor, Federal Building, 450 Golden Gate Avenue, San
18   Francisco, California 94102.               Any party wishing to submit a
19   settlement conference statement shall lodge one with the court
20   and serve opposing counsel by 10:00 a.m., Monday, April 3,
21   2006.        Any party that wishes to file a confidential statement
22   which will not be served upon opposing counsel, may submit one
23   up to two pages by 10:00 a.m., Monday, April 3, 2006.
24   Dated:       March 29, 2006
25
                                            Bernard Zimmerman
26                                   United States Magistrate Judge
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